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        Case Nos. 22-2675, 22-2676, 22-2677, 22-2678, 22-2679, & 22-2680


        In the United States Court of Appeals
                for the Third Circuit
                      APEX CONSTRUCTION CO. INC.,
                     BLUEWATER CONSTRUCTION INC.,
                       MSI BUILDING SUPPLIES INC.,
                         UNITED CORPORATION,
                   IMPEX TRADING INTERNATIONAL INC.,
                       B&B MANUFACTURING INC.,
                            Appellants/Plaintiffs,
                                     v.
                      UNITED STATES VIRGIN ISLANDS,
                            Appellee/Defendant.


  ON APPEAL FROM THE DISTRICT COURT OF THE VIRGIN ISLANDS
                 DIVISION OF ST. THOMAS AND ST. JOHN
  Case Nos. 3:21-cv-39, 3:21-cv-40, 3:21-cv-41, 3:21-cv-43, 3:21-cv-44, & 3:21-cv-52
                Hon. Robert A. Molloy, District Judge, Presiding
            _______________________________________________

                      REPLY BRIEF FOR APPELLANTS
              ______________________________________________


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                                 REPLY ARGUMENT

I.     TAX COMITY IS INAPPLICABLE IN THIS CASE

       A.     Tax Comity Does Not Apply in the Virgin Islands

       This Court should conclude that the tax comity doctrine does not apply to

Article IV territories when the taxpayer asserts violations of the United States

Constitution (e.g., Commerce Clause). At its core, tax comity is intended to be

“applicable in state taxation cases [to] restrain[] federal courts from entertaining claims

for relief that risk disrupting state tax administration.” Levin v. Com. Energy, Inc., 560

U.S. 413, 417 (2010) (emphasis added). Cf. Bluebeard’s Castle, Inc. v. Gov’t of Virgin

Islands, 321 F.3d 394, 400 (3d Cir. 2003) (“In any event, principles governing the

relations between the states and the federal government are not always applicable to

the territories.”).

       But the Virgin Islands is not a state and that impacts the mode of this Court’s

analysis as demonstrated by various Supreme Court cases.

       For example, the Supreme Court has held that “decisions of the Supreme Court

of Guam, as with other territorial courts, are instructive and are entitled to respect

when they indicate how statutory issues, including the Organic Act, apply to matters

of local concern.” Limtiaco v. Camacho, 549 U.S. 483, 492 (2007) (concluding that the

debt-limitation provision in Guam’s Organic Act was not a matter of “purely local




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concern”). But it also noted that, “[o]n the other hand, the Organic Act is a federal

statute, which we are bound to construe according to its terms.” Id.

      The Supreme Court applied the same rationale to a decision of the District of

Columbia Court of Appeals when it interpreted provisions of the D.C. Code enacted

by Congress. See Pernell v. Southall Realty, 416 U.S. 363, 368-69 (1974). And no

deference is due when a constitutional issue before the court cannot be entirely

separated from the statutory question. See Whalen v. United States, 445 U.S. 684, 688

(1980) (not deferring to District of Columbia Court of Appeals’ interpretation of two

criminal provisions of the D.C. Code passed by Congress because “the customary

deference to the District of Columbia Court of Appeals’ construction of local federal

legislation is inappropriate with respect to the statutes involved for the reason that the

petitioner’s claim under the Double Jeopardy Clause cannot be separated entirely

from a resolution of the question of statutory construction”).

      Furthermore, the Supreme Court has clarified that deference is “a matter of

judicial policy, not a matter of judicial power” and distinguished that deference from

the treatment of state court interpretation of state statutes:

      Acts of Congress affecting only the District, like other federal laws,
      certainly come within this Court’s Art. III jurisdiction, and thus we are
      not prevented from reviewing the decisions of the District of Columbia
      Court of Appeals interpreting those Acts in the same jurisdictional sense
      that we are barred from reviewing a state court’s interpretation of a state
      statute.


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Id. at 677-78.

      Synthesizing these cases, tax comity deference to territorial court interpretations

of a federal provision—as a matter of judicial policy, rather than judicial power—is

inappropriate when a statutory issue is not entirely separate from a federal

constitutional issue. Such is the case here, as the Appellants’ Commerce Clause claim

is directly related (and inextricably intertwined with) the claim that the GVI applied

33 V.I.C. § 42 in an unconstitutional manner.

      This conclusion is supported by the fact that this Court has expressly refrained

from opining whether tax comity applies to the Virgin Islands. See Am. Resort Dev.

Ass'n v. Gov't of the Virgin Islands, 848 F. App’x 79, 81 n. 3 (3rd Cir. 2021). While the

Court could exercise its prerogative to conclude that tax comity writ large does not

apply to the Virgin Islands, it could decide this case by concluding that tax comity

does not apply to the unique facts presented here. See discussion infra. Regardless of

the analytical path this Court chooses, it should conclude that the decision below was

erroneous.

      The GVI relies on the trial court’s citation to this Court’s decision in Z & R

Cab, LLC v. Philadelphia Parking Auth., 616 F. App’x 527 (3d Cir. 2015). But a close

inspection Z & R shows an important difference to this case. In Z & R “the fact that

the state court has already ruled on the constitutionality of the PAL, which governed a

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commercial activity in a single city, Levin suggests that a federal court may wish to

carefully weigh whether to intervene.” Id. at 531 (emphasis added). Here, in stark

contrast, in Reefco both the District Court and this Court as federal courts have already

ruled on the unconstitutionality of the GVI’s application of the excise tax law. Thus,

as federal courts have already intervened, the reasons that ordinarily counsel

abstention are noticeably absent here.

      This fact makes all the difference and distinguishes all the cases that the GVI

relies on as those courts viewed tax comity in a prospective manner (instead of the

retrospective manner that this case presents). Simply stated, this Court has already

ruled on the unconstitutionality of the GVI’s application of its excise tax scheme and

any attempt to put it back in the bottle via a forward-looking tax comity doctrine

should be rejected.

      As to the four-factor test set forth in Z & R, the Appellants submit that the third

and fourth factors are absent here, i.e. (A) the territorial courts are not in a better

position than the District Court and this Court to provide a remedy and (B) there is

only one potential remedy at issue in this case. The GVI fails to acknowledge that the

Appellants sought only legal relief in the form of a tax refund (including statutory

interest and, to the extent permissible, attorney’s fees and costs). See Apdx-090 (prayer

for relief). The Appellants never sought equitable relief in the form of an injunction,



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which the trial court failed to properly consider regarding the application to the third

and fourth factors.

      Unlike cases where a taxpayer claims that a statute violates the Constitution,

here the taxpayers claimed, just as in Reefco, not that Section 42 was facially

unconstitutional, but instead that it was being applied in an unconstitutional manner.

This is significant because the constitutional violation at issue did not require the

Virgin Islands Legislature to amend the statute. Thus, any assertion that local courts

are more familiar with legislative preferences is a red herring because the Virgin

Islands Legislature would not have to do anything in response to the case below (as

evidenced by the fact that it did nothing in response to Reefco). The only conceivable

action that the Virgin Islands Legislature would have to do in response to a federal

trial court judgment (which for all intents and purposes is identical to a local trial

court judgment) is authorize funding. Thus, the trial court erred, Apdx-26, when it

concluded that an appropriation in response to a federal judgment implicates

state/territorial legislative preferences. Accordingly, given the limited relief sought,

i.e., a tax refund, the third and fourth factors detailed in Z & R favor the Appellants,

not the GVI.




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        B.     If Tax Comity Applies in General, it Should Not Apply Here

               1.    Tax Comity Should Not Apply Because of Reefco

        The GVI posits, notwithstanding that like cases should be decided alike, Martin

v. Franklin Capital Corp., 546 U.S. 132, 139 (2005), and that “[i]nconsistency is the

antithesis of the rule of law[,]” LaShawn A. v. Barry, 87 F.3d 1389, 1393 (D.C. Cir.

1996), that “Appellants are not asking this Court to apply precedent here.” GVI Br.

at 28. But Reefco is precedent (albeit non-precedential precedent), as precedent is “a

legal decision or form of proceeding serving as an authoritative rule or pattern in

future similar or analogous cases.”1 There can be no bona fide dispute that Reefco is

a similar or analogous case to the consolidated case at bar. Thus, just as the taxpayer

in Reefco was entitled to a tax refund so too should the taxpayers in this case be entitled

to a tax refund. See Reefco Servs., Inc. v. Gov't of Virgin Islands, 830 F. App’x 81, 85 (3d

Cir. 2020) (Reefco II) (“Because the GVI assessed the excise tax against Reefco in

violation of the Dormant Commerce Clause, the District Court correctly held that

Reefco is entitled to a refund.”).




1
    https://www.dictionary.com/browse/precedent (last accessed April 7, 2023).

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             2.     Tax Comity Should Not Apply Because the Relief Sought is
                    Only Monetary (i.e., Not Injunctive or Declaratory)

      The GVI argues that because, “while Appellants claim to only seek a refund,

their prayers for relief contain a litany of requests, including a judgment in their favor,

reasonable attorneys’ fees and costs, and both pre- and post-judgment interest[,]” GVI

Br. at 29-30, such implicates tax comity. The GVI is wrong. As noted above, the relief

requested is entirely legal in nature (expressly not equitable). Thus, there is nothing

that the Appellants ask for that would in any way, shape, or form, act to suspend or

interfere with the collection of territorial taxes. The GVI has no rejoinder to the

proposition that the proper way to challenge a territorial tax is to pay and then sue for

a refund. See Hibbs v. Winn, 542 U.S. 88, 104 (2004) (“Congress directed taxpayers to

pursue refund suits instead of attempting to restrain collections.”); Psaty v. United

States, 442 F.2d 1154, 1158 (3d Cir. 1971) (pay the contested tax); United States v.

Dalm, 494 U.S. 596, 601–02 (1990) (timely file a claim for refund). That is exactly

what the Appellants did in this case.

      The GVI relies on Fair Assessment to buttress its tax comity argument, GVI Br.

at 29, but that case was procedurally very different from this case. In Fair Assessment,

the question presented was “whether a damages action may be brought under 42

U.S.C. § 1983 to redress the allegedly unconstitutional administration of a state tax

system.” Fair Assessment in Real Est. Ass’n, Inc. v. McNary, 454 U.S. 100, 101 (1981).


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In contrast, in this case the Appellants did not bring a Section 1983 case, instead they

sought a refund expressly permitted pursuant to 33 V.I.C. § 1692 after filing a claim for

refund. The timely filed claim for refund is significant as it is a statutory prerequisite

for the Virgin Islands waiver of sovereign immunity under Section 1692. See id. (“No

action or proceeding shall be maintained in any court for the recovery of any internal

revenue tax alleged to have been erroneously or illegally assessed or collected, or of

any penalty claimed to have been collected without authority, or of any sum alleged

to have been excessive or in any manner wrongfully collected, until a claim for refund

or credit has been duly filed with the Director, ….”) (emphasis added).

      Thus, the problems the Supreme Court identified with Section 1983 tax cases,

see Fair Assessment, 454 U.S. at 114 (“State tax collection officials could be summoned

into federal court to defend their assessments against claims for refunds as well as

prayers for punitive damages, merely on the assertion that the tax collected was

willfully and maliciously discriminatory against a certain type of property.”), are not

present here. To state the obvious, the Appellants did not seek punitive damages, nor

did they allege willful or malicious discrimination. This distinction is not of degree

but of kind and takes this case out of Fair Assessment’s ambit.

             3.     Superior Court does not provide a plain, adequate, and
                    Complete Remedy

      Although the Appellants provided detailed evidence consisting of (i) local level


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judiciary reports that detail the Superior Court’s civil and criminal caseload, (ii) the

District Court of the Virgin Islands’ civil and criminal caseload, (iii) a relative

comparison between the two trial level courts in the Virgin Islands, and (iv) an

addendum demonstrating the source of the data and computations performed (which

provided full transparency to allow the GVI and the Court to double-check the

Appellants’ math), the GVI fails to meaningfully grapple with these points. Indeed,

the GVI does not even mention the Appellants’ computation addendum once in its

brief. And for good reason: the numbers do not lie and bear out what the legal

community in the Virgin Islands already knows, i.e., that the Superior Court does not

provide a plain, adequate, and complete remedy.

      The GVI claims that the Appellants have “cherry-picked examples of lengthy

Superior Court litigation.” GVI Br. at 30. Presumably if the Appellants were

incorrect the GVI would point to examples supporting its position. But the GVI fails

to provide examples to counter the Appellants’ argument and fails to cite to any

evidence that contradicts the Appellants’ arguments. That failure speaks volumes.

      Finally, the GVI takes issue with Virgin Islands Legislature’s amendment of 5

V.I.C. § 31, which provides for trial preferences. But the GVI fails to grapple with

the legislative findings that formed the basis for Act 8486. Virgin Islands Senators

Sarauw,     Heyliger,     and   Joseph    were    Act    8486’s     sponsors.       See



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https://www.legvi.org/billtracking/Detail.aspx?docentry=29559 (last accessed April

8, 2023). When a senator sponsors a bill, his/her “statements are entitled to weight.”

Lewis v. United States, 445 U.S. 55, 63 (1980) (citing Simpson v. United States, 435 U.S.

6, 13 (1978)).

      But the GVI totally ignores Senator Sarauw’s statements (and the other

Senators as well) that:

    there remains a large backlog of actions, despite the expansion of the territorial

      court system in recent years.

    “People should not be dying waiting to settle a civil matter.”

    There is an unnecessary backlog in our courts.

This Court should give substantial deference to theses legislative findings.           See

Opening Br. at p. 26-29 (detailing legislative findings). See also Metro Broadcasting, Inc.

v. FCC, 497 U.S. 547, 569, 579-81 (1990) (courts must pay close attention to the

factfinding of Congress and must give great weight to the decisions of Congress

regarding complex empirical questions) (cleaned up); Turner Broadcasting System, Inc. v.

FCC, 520 U.S. 180, 199 (1997) (the Supreme Court stressed the importance of

“Congress’ factfinding function” and declared that the Court “must give considerable

deference, in examining the evidence, to Congress’ findings and conclusions”).

      However, instead of addressing the findings of the Virgin Islands Legislature,



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the GVI dismisses the Appellants’ argument in toto, and asserts that the “Appellants

intend § 31 to pull double duty for them, serving both as a symptom of local court

dysfunction and a roadblock to local courts’ proper functioning.” GVI Br. at 31. The

GVI is incorrect, as Section 31 was enacted in direct response to what the Virgin

Islands Legislature found to be systemic, on-going, wide-ranging, problems at the

Superior Court to the timely adjudication/resolution of cases. The situation could

not be grimmer when the sponsor of Act 8486 stated (when arguing for why the

passage of Act 8486 was necessary) that “[p]eople should not be dying waiting to settle

a civil matter.” While the GVI executive branch may take the position in litigation

that the situation on the ground is acceptable, the legislative branch (as a co-equal

branch of government) clearly has taken the contrary view and passed Act 8486, which

the Appellants submit is ipso facto proof that the Superior Court does not provide a

plain, adequate, and complete remedy.

       Under these grim state-of-affairs of the Superior Court, tax comity must not

apply; the decision below must be reversed, and the case remanded with instructions

to exercise jurisdiction.

              4.     There is No Guarantee of Repayment

       The GVI paints a rosy picture of its financial position not by citing to record

evidence, but instead to a self-serving affidavit of the Director Lee. See GVI Br. at 31



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(citing to Lee affidavit). But an affidavit cannot be crossed examined, and when

Director Lee and Director O’Neal were respectively cross-examined, they testified that

(i) the witness was unaware of the amount corporations claimed in refunds in an

average year, Apdx-261 (Tr. at 86), (ii) the witness had no idea how many corporate

refunds remained unpaid for recent tax years, Apdx-264 (Tr. at 89), (iii) importantly,

for these corporate taxpayers/Appellants, corporations do not receive their refunds

according to the same prioritization protocol as individual taxpayers, Apdx-270 (Tr. at

95), (iv) the GVI prioritizes payroll and allotments to semiautonomous agencies over

tax refunds, Apdx-221, 228 (Tr. at 46, 53), (v) the tax refund backlog has increased to

$80 million, Apdx-272-73 (Tr. at 97-98), and (vi) judgments awarding tax refunds are

subject to the availability of funds, Apdx-239-40, 269 (Tr. at 64-65, 94).

      Once again, the GVI fails to address these inconvenient facts, instead arguing

that the Appellants did not address the Levin factors. GVI Br. at 31. But, as the

district court noted in Great Bay, “[t]he Supreme Court has also held that when a

plaintiff challenges a tax, principles of comity (the ‘tax comity doctrine’) prevent

district courts from granting injunctive or declaratory relief or awarding damages

when the state provides remedies that are ‘plain, adequate, and complete.’” Great Bay

Condo. Owners Ass’n, Inc. v. Gov’t of Virgin Islands, 2018 WL 4690372, at *3 (D.V.I.

Sept. 28, 2018) (citing Fair Assessment, 454 U.S. at 116). Whether a taxpayer can be



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guaranteed of repayment is directly relevant to whether “a refund action is not a plain,

adequate, and complete remedy.” Great Bay, 2018 WL 4690372, at *16.

      The Great Bay court justified its conclusion on two significant cases. The first

case was Stewart Dry Goods Co. v. Lewis, 287 U.S. 9 (1932). In Stewart, the Supreme

Court reversed and remanded to the trial court to determine whether the taxpayers

“would be afforded a certain reasonably prompt and efficacious remedy.” Id. at 10.

Upon remand, the Stewart trial court concluded that, as “it is uncertain when [the

taxpayers] would be paid, we feel constrained to hold that the remedy at law given by

section 10 of the act does not afford that certainty necessary to repel equity

jurisdiction.” Stewart Dry Goods Co. v. Lewis, 7 F. Supp. 438, 440 (W.D. Ky. 1933).

      The second case was Wal-Mart Puerto Rico, Inc. v. Zaragoza-Gomez, 834 F.3d 110

(1st Cir. 2016). In Wal-Mart, the trial court enjoined the enforcement of a Puerto

Rican law after concluding that it (similar to Reefco) violated, inter alia, the Commerce

Clause. Id. at 112. The First Circuit affirmed, concluding that the taxpayer “lacked a

plain, speedy, and efficient remedy in the Puerto Rico courts” due to both the time it

would take for repayment and other governmental “priorities putting other debts

ahead of taxpayer debt.” Id.

      Thus, in all events, whether the taxpayers in this case can get a timely tax refund

is relevant to Levin and whether a refund action provides a plain, adequate, and


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complete remedy. As discussed above, it does not, and the decision below to the

contrary was entered in error.

II.    THE GVI SHOULD BE ESTOPPED FROM RELITIGATING REEFCO

       The GVI asserts that there are two major policy reasons that justify why non-

mutual collateral estoppel should not be applied against a government. The first is

that, “[u]nlike a private litigant who generally does not forgo an appeal if he believes

that he can prevail, the Solicitor General considers a variety of factors, such as the

limited resources of the Government and the crowded dockets of the courts, before

authorizing an appeal.” GVI Br. at 35 (citing United States v. Mendoza, 464 U.S. 154,

161 (1984)). The second is that, “[i]n addition to those institutional concerns

traditionally considered by the Solicitor General, the panoply of important public

issues raised in governmental litigation may quite properly lead successive

administrations of the Executive Branch to take differing positions with respect to the

resolution of a particular issue.” Id.

       Both considerations are absent here.

       First, the GVI did in fact appeal Reefco to this Court. Thus, there was not only

a trial court judgment, but that judgment was affirmed on appeal. Accordingly, the

fact that a government might choose to not appeal a decision (for whatever reason,

resulting in the end of the litigation) cannot justify the inapplicability of non-mutual



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collateral estoppel in this case as the GVI appealed Reefco to this Court (and lost).

Simply stated, the GVI cannot rely on the fact that governments may not take an

appeal for a host of reasons to justify not being bound to a decision of an appeals

court when the GVI already elected to take an appeal.

          Second, the GVI has demonstrated no change in position regarding the

entitlement of Virgin Islands taxpayers to obtain refunds of excise taxes paid when the

GVI was applying its excise tax regime in an unconstitutional manner. This is not the

case where different administrations have taken radically different litigating positions.

To the contrary, the GVI administrations have been entirely consistent in their

respective positions – Virgin Island taxpayers are not due a refund.

          Thus, both rationales cut against the GVI’s arguments and support the

Appellants’ commonsense position that the GVI should be estopped from relitigating

Reefco.

          Finally, the GVI candidly acknowledges that various courts in the country have

not allowed non-mutual collateral estoppel to be used against state governments. See

GVI Br. at 37 (citing State v. United Cook Inlet Drift Ass’n, 895 P.2d 947 (Alaska 1995);

In re Stevenson, 615 Pa. 50, 68, n. 8 (Pa. 2012)). The Alaska Supreme Court “decline[d]

to adopt the Mendoza exception which would preclude in all cases, the offensive use

of collateral estoppel against the State. The exception to this doctrine which the



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Mendoza court created was one especially fashioned for the federal government as a

litigant.” United Cook, 895 P.2d at 951. The Alaska Supreme Court found that all

three Mendoza factors weighed in favor of holding that non-mutual collateral estoppel

does not apply against the State of Alaska. Id. at 951-52. In particular,

       the State’s attempt to equate the functions of Alaska’s Attorney General
       with those of the United States Solicitor General does not withstand
       scrutiny. Unlike the Solicitor General, Alaska’s Attorney General
       essentially litigates in a single jurisdiction and is faced with a much
       smaller volume of litigation. Consequently, the need to authorize appeals
       of only the strongest cases is not as compelling as it is in the diverse
       federal judicial system.

Id. at 952.

       And other jurists have reached the same conclusion as the Alaska Supreme

Court. See In re Stevenson, 615 Pa. 50, 40 A.3d 1212, 1222 n.8 (2012) (declining to

extend “the Mendoza doctrine” to state governments); Benjamin v. Coughlin, 905 F.2d

571, 576 (2d Cir. 1990) (distinguishing Mendoza and permitting the use of nonmutual

collateral estoppel against a state agency); Milton S. Kronheim & Co. v. D.C., 91 F.3d

193, 209 (D.C. Cir. 1996) (LeCraft Henderson, J., dissenting) (“No legitimate public

policy would be served by immunizing the District from nonmutual offensive

collateral estoppel here…. But if the District receives an adverse district court decision,

it can appeal to this Court, and an adverse decision by this Court will bind the District

in future litigation irrespective of the applicability of nonmutual offensive collateral



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estoppel: principles of res judicata and estoppel will bar the District from relitigating

the issue with the same party; and stare decisis should ordinarily preclude the District

from relitigating the issue with a different party [.]”) (cleaned up); Jones v. Cannizzaro,

2019 WL 2289470, at *6 (E.D. La. May 28, 2019) (“Further, the Fifth Circuit has not

extended the holding in Mendoza to state or local governments, and this Court

therefore declines the invitation to do so here.”).

       These considerations apply equally (if not more so) to the GVI, as the Virgin

Islands is smaller in land mass, population, and the concomitant volume of litigation.

                                           ***

       Acknowledging the infirmity of its position, the GVI argues for the very first

time that

       to prevent any future litigant from arguing, like Appellants have here,
       that the USVI failed – in its first and last opportunity – to litigate this
       issue, we assert that: (1) this Court should treat the USVI as it would a
       state for purposes of ONMCE, hold Mendoza applies to the USVI, and
       reject ONMCE’s application here pursuant to Mendoza; (2) should this
       Court decide to treat the USVI as a federal entity, it should reject
       ONMCE’s application here pursuant to Mendoza; and (3) should this
       Court decide not to reject ONCME’s application pursuant to Mendoza,
       it should still deny Appellants [sic] requests here because the doctrine’s
       prerequisites have not been satisfied.

GVI Br. at 38.

       The GVI failed to raise these arguments below and, as a result, it has waived

them. See Freeman v. Pittsburgh Glass Works, LLC, 709 F.3d 240, 249 (3d Cir. 2013)

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(“We generally refuse to consider issues that the parties have not raised below.”) (citing

Singleton v. Wulff, 428 U.S. 106, 120 (1976) (“It is the general rule, of course, that a

federal appellate court does not consider an issue not passed upon below.”)).

      Notwithstanding this objection, and in an abundance of caution, the

Appellants address these newfound arguments infra.

      A.     The Court Should Treat the Virgin Islands for What It Is – Neither a
             State, Nor A Federal Entity

      The Virgin Islands is an insular area of the United States; it is classified as an

unincorporated territory by 48 U.S.C. § 1541(a), and as an Article IV Territory the

Virgin Islands is not a sovereign in our system of government.              Indeed, “the

constitutional relationship between the territories and the federal government

remains unified: in a federal Territory and the Nation, as in a city and a State, there

is but one system of government, or of laws operating within its limits. City and State,

or Territory and Nation, are not two separate sovereigns to whom the citizen owes

separate allegiance in any meaningful sense, but one alone.” Parrott v. Gov’t of Virgin

Islands, 230 F.3d 615, 623 (3d Cir. 2000) (cleaned up). See also Cooper v. Comm’r, 718

F.3d 216, 219 (3d Cir. 2013) (the Virgin Islands lacks independent sovereign power,

instead all power originates from Congress). Consequently, “principles governing the

relations between the states and the federal government are not always applicable to

the territories.” Bluebeard’s Castle, 321 F.3d at 400.


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      Accordingly, this Court must, consistent with how it has treated the Virgin

Islands in the past, take a nuanced and fact-intensive analysis of the Virgin Islands’

unique location in our constitutional design. In other words, the state versus federal

dichotomy is inapt for an Article IV Territory. Taking a nuanced view, the Court

should treat the Virgin Islands as neither a state nor the federal government for

collateral estoppel purposes; instead, the Virgin Islands is sui generis (and unable to be

pigeon-holed into a facile state-federal dichotomy) and should neither be treated like

a state nor the federal government.

      B.     Mendoza Does Not Apply

      Regardless of how this Court characterizes the Virgin Islands for collateral

estoppel purpose, in all events the Court should conclude that Mendoza does not apply

to this case. See discussion supra (regarding why the GVI should be precluded from

relitigating Reefco, why Mendoza should not apply to the Virgin Islands, and the various

court decisions to not apply Mendoza to state governments).

      C.     Offensive Non-Mutual Collateral Estoppel’s Prerequisites Have Been
             Satisfied

      The GVI asserts that the Appellants could have joined the Reefco action. Once

again, the GVI is wrong.

      Appellants needed to file their respective claims for refund, and then wait the

six-month statutory period before bringing suit as required under 33 V.I.C. § 1692.

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And the failure to either file a claim for refund or wait the six-month period results in

the non-waiver of sovereign immunity and the dismissal of a premature action under

Fed. R. Civ. P. 12(b)(1). See Dalm, 494 U.S. at 602 (“unless a claim for refund of a tax

has been filed within the time limits imposed by § 6511(a), a suit for refund, regardless

of whether the tax is alleged to have been ‘erroneously,’ ‘illegally,’ or ‘wrongfully

collected,’ §§ 1346(a)(1), 7422(a), may not be maintained in any court.”); United States

v. Williams, 514 U.S. 527, 533 (1995) (tax refund claims require administrative

exhaustion); Cash v. United States, 725 F. App’x 171, 173–74 (3d Cir. 2018) (“The

Code further provides that the taxpayer must wait six months to initiate a suit for

refund, unless the IRS decides the administrative claim earlier.”).

      Accordingly, once the Appellants had complied with Section 1692’s statutory

requirements, they would have had to move to intervene under Fed. R. Civ. P. 24,

which they would have been unable to do because the application would not have

been timely, nor would they be able to assert that their interests were not being

adequately represented. See United States v. Territory of Virgin Islands, 748 F.3d 514,

519 (3d Cir. 2014) (discussing the four intervention factors). Thus, the GVI’s

assertion that the Appellants could have joined Reefco is belied by the statutory and

procedural requirements (which the GVI conveniently makes no mention of).




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       Additionally, tax comity was decided in Reefco. As noted in the Appellants’

opening brief, the GVI raised tax comity in Reefco. See Apdx-222 (GVI briefing citing

to both Levin and Fair Assessment); Apdx-044 (R&R acknowledging that the GVI raised

tax comity in Reefco). The fact that tax comity was not mentioned in an opinion does

not mean that it was not decided, rather, it means that the argument did not merit

discussion. Accord Reefco II, 830 F. App’x at 85 (“The resulting violation of the

Commerce Clause is obvious and the GVI’s claims to the contrary do not merit

further discussion.”).

      To that end, claim preclusion, or res judicata, prevents parties from raising

claims for relief or defenses to claims for relief that could have been raised in prior

litigation, Lucky Brand Dungarees, Inc. v. Marcel Fashions Grp., Inc., 140 S. Ct. 1589,

1594 (2020), even if such claims were never actually litigated in the prior case, see

Brown v. Felsen, 442 U.S. 127, 131 (1979) (“Res judicata prevents litigation of all

grounds for, or defenses to, recovery that were previously available to the parties,

regardless of whether they were asserted or determined in the prior proceeding.”) (emphasis

added). A prior decision must have been on the “merits” but that requirement does

not mean each claim had to be specifically addressed by the court. See Plaut v.

Spendthrift Farm, 514 U.S. 211, 228 (1995) (“The rules of finality, both statutory and

judge made, treat a dismissal on statute-of-limitations grounds the same way they treat


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a dismissal for failure to state a claim, for failure to prove substantive liability, or for

failure to prosecute: as a judgment on the merits.”).

       Tellingly, the GVI posits that “[e]ach Appellants [sic] case must stand on its own

facts, and the USVI must be allowed to challenge those facts, as well as the application

of law to those facts, in its defense.” GVI Br. at 42. And there, the GVI reveals its

true desire – to litigate each taxpayer’s claim for an excise tax refund notwithstanding

that the GVI applied its excise tax regime in a blanket unconstitutional manner. In

other words, to force every Virgin Islands taxpayer to incur the costs of hiring an

attorney, filing a complaint, conducting discovery, and proceeding to summary

judgment or trial, and then attempting to collect on the judgment (a daunting task

indeed). But the GVI knows that only well-healed taxpayers will do this, effectively

immunizing the GVI from the full consequence of its unconstitutional actions. This

is not a fair and just way to administer a system of taxation, and exactly what the GVI

wants. However, as the Supreme Court has stated, “[i]f men must turn square corners

when they deal with the government, it cannot be too much to expect the government

to turn square corners when it deals with them.” Niz-Chavez v. Garland, 141 S. Ct.

1474, 1486 (2021). Applying non-mutual offensive collateral estoppel in this case will

force the GVI to turn square corners with all its taxpayers, which is only fair.




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       The GVI also makes the fanciful claim that “the issue sought to be precluded

here is not the same as that involved in Reefco.” GVI Br. at 44. Once more the GVI

is wrong. The issue was, and has always been, “that the Virgin Islands excise tax statute

– 33 V.I.C. § 42 violated the Commerce Clause, [thus,] any excise tax assessed under

Section 42 was improperly assessed[.]” Apdx-086. Indeed, each complaint references

Reefco and states, the “Plaintiff now sues the Defendant for a refund of the excises that

it paid to the Defendant during the years where the Defendant was interpreting and

enforcing Section 42 in an unconstitutional manner.” Apdx-086; 092; 098; 130; 136;

144. While it is true that Reefco did not expressly state that it applied to every taxpayer,

the clear implication that it applied writ large is demonstrated by the fact that the

District Court “declar[ed] the GVI’s implementation of the excise tax

unconstitutional[.]” Reefco II, 830 F. App’x at 85. As the GVI’s implementation was

territory wide, the decisions in Reefco implicate the taxpayers in this case.

       Finally, the GVI asserts that General Motors Corp. v. Tracy, 519 U.S. 278 (1997),

precludes the use of non-mutual offensive collateral estoppel. GVI Br. at 44. As an

initial observation, Gen. Motors is readily factually distinguishable, as it addressed

regulation of the natural gas industry. See id. at 288 (“Assessing these arguments

requires an understanding of the historical development of the contemporary retail

market for natural gas, to which we referred before and now turn in greater detail.”).



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      Further, in referencing prior Supreme Court precedent, the High Court stated:

      On similar facts, we held in Bacchus Imports, …, that in-state liquor
      wholesalers had standing to raise a Commerce Clause challenge to a
      Hawaii tax regime exempting certain alcohols produced in-state from
      liquor taxes. Although the wholesalers were not among the class of out-
      of-state liquor producers allegedly burdened by Hawaii’s law, we reasoned
      that the wholesalers suffered economic injury both because they were directly liable
      for the tax and because the tax raised the price of their imported goods relative to
      the exempted in-state beverages.

Id. at 287 (emphasis added, citation omitted). Bacchus Imports tracks the instant case

as the Appellants were directly liable for the excise tax, see 33 V.I.C. § 42a, and the

tax raised the price of the imported goods. Consequently, Gen. Motors does not

support the GVI’s position.

                                      CONCLUSION

      For the foregoing reasons, and the reasons detailed in the Appellants’ opening

brief, the Court should conclude that (1) tax comity does not apply in the Virgin

Islands (or, alternatively, that it does not apply in this case) and (2) that collateral

estoppel applies against the GVI.

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       Pursuant to Fed. R. App. P. 32(g)(1), counsel certifies that this brief is in
compliance with the 6,500 typed-volume limitation of Rule 32(a)(7)(B)(ii). The instant
brief is 5,753 words in length. The brief has been prepared using Microsoft Word,
Goudy Old Style font in 14 point.

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            CERTIFICATE OF COMPLIANCE RE: VIRUS CHECK

      Counsel also certifies that he has performed a virus scan on the E-Brief using
Microsoft Defender Antivirus software.

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       Counsel hereby certifies that the text of the E-Brief and the text of the hardcopy
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I hereby certify that on April 17, 2023, I caused:

1.     Pursuant to Local Appellate Rule Misc. 113.14, an electronic original copy of
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Pursuant to Fed. R. App. P. 25(c)(1)(D), Local Appellate Rule 25.1(b), and Local
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